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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT

                                       )
In re:                                 )                      Chapter 11
                                       )
     HO WAN KWOK, et al.,              )                      Case No. 22-50073 (JAM)
                                       )
                 Debtors.              )                      (Jointly Administered)
                                       )
                                       )
LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR )                      Adv. P. No. 23-05017 (JAM)
THE ESTATE OF HO WAN KWOK,             )
                                       )                      RE: ECF Nos. 47, 57
                 Plaintiff,            )
     v.                                )
                                       )
TAURUS FUND LLC; SCOTT BARNETT, AS     )
TRUSTEE FOR TAURUS FUND LLC; and       )
TAURUS MANAGEMENT LLC, AS TRUSTEE )
FOR TAURUS FUND LLC,                   )
                                       )
                 Defendants.           )
                                       )

                        ORDER GRANTING EMERGENCY
                  MOTION TO MODIFY PRELIMINARY INJUNCTION

         On August 24, 2023, the Court issued the Memorandum of Decision and Order Granting

in Part Motion for Preliminary Injunction (the “PI”). (ECF No. 47.) In pertinent part, the PI

ordered that “[a]t or before 5:00 p.m. on August 28, 2023, the Defendants shall file proof of

insurance for (i) all assets and property of Taurus Fund, including the Mahwah Mansion; and (ii)

all personalty and/or fixtures in, on, or at the Mahwah Mansion . . ..” (Id. at *23.)

         On August 28, 2023, Defendant Taurus Fund LLC (“Taurus Fund”) filed a Response re:

Preliminary Injunction (the “Response”). (ECF No. 52.) The Response indicated the Defendants

did not have the required insurance and had not managed to obtain insurance by 5:00 p.m. on

August 28, 2023, but were working diligently to do so. (Id.)
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       On August 29, 2023, a hearing was held in this adversary proceeding on another matter.

During the hearing, the Court inquired about the insurance issue. The Defendants indicated that

efforts were ongoing. The Plaintiff, Mr. Luc A. Despins, Chapter 11 trustee (the “Trustee”) for

the estate of Mr. Ho Wan Kwok, indicated he was concerned by the lack of insurance and orally

moved the Court to amend the PI to prevent all access to 675 Ramapo Valley Road, Mahwah, NJ

07430 (the “Mahwah Mansion”) except to certain personnel. The Court told the Trustee that it

would consider a motion to amend the PI filed after 5:00 p.m. on August 30, 2023 should the

Defendants fail to file proof of insurance as required by the PI.

       On August 30, 2023, Taurus Fund filed an Amended Response re: Preliminary Injunction

(the “Amended Response”). (ECF No. 55.) The Amended Response indicated that the

Defendants had not yet acquired insurance, but were in meetings with insurance providers. (Id.)

Also, the Defendants stated that as of the Amended Response, security for the Mahwah Mansion

was presently not allowing entry to the Mahwah Mansion because of the ongoing insurance

issue. (Id.) Later that day, the Trustee filed an Emergency Motion to Modify Preliminary

Injunction (the “Emergency Motion”). (ECF No. 57.) The Emergency Motion continues to

express serious concern that absent a Court order modifying the PI the Defendants may allow

access to the Mahwah Mansion without acquiring insurance. (Id.)

       Finding good cause to grant the Emergency Motion in light of the failure of Defendants

to file proof of insurance and in consideration of the Amended Response, which tacitly

acknowledges the Trustee’s concerns regarding the present lack of insurance, it is hereby

       ORDERED: The Motion is GRANTED as set forth herein; and it is further

       ORDERED: Effective immediately, the PI is modified such that access to the Mahwah

Mansion is restricted solely to (a) the Security Services (as defined in the Preliminary



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Injunction); (b) the Trustee and his representatives and/or professionals; (c) the United States

Department of Justice and its employees and representatives; (d) the FBI and its employees and

representatives; (e) other federal, New Jersey state, or Mahwah municipal law enforcement

agencies and their employees and representatives; (f) any other persons expressly authorized by

the Trustee in writing (which can include email); and (g) any other person expressly authorized

by the United States District Court for the Southern District for New York or this Court; and it is

further

          ORDERED: Upon a showing that the Defendants have obtained sufficient insurance

coverage for property titled to Taurus Fund, including the Mahwah Mansion, and the all

personalty and/or fixtures in, on, or at the Mahwah Mansion, and that such insurance coverage is

in effect, the Defendants may move to modify the foregoing restriction to access to the Mahwah

Mansion. The Trustee may respond or object to any such motion; and it is further

          ORDERED: Except as expressly modified by this Order, the PI shall remain in full

force and effect.
                             Dated at Bridgeport, Connecticut this 31st day of August, 2023.

                                                                              Juli      'L'Mr   IN1.ning_
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